     Case 2:10-cv-01337-AC         Document 60       Filed 05/08/12      Page 1 of 41




                          UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREG ON

                                  PORTLAt'lD DIVISION




RODN EY ROGERS                                                     Case No.: 3:l0-C V-133 7-AC

                            Plaintiff,                                  OPINION AND ORDE R

             v.

OREGON TRAIL ELECTRIC
CONSUMERS COOPERATIVE, INC., a
domestic non-profit cooperative

                            Defendant.


ACOSTA, Magistrate Judge:
                                         Introduction

                                                                                 Electric Consumers
      Plaint iff Rodney Rogers ("Rogers") filed this suit against Oregon Trail
                                                                        ically, Rogers alleges: (1)
Cooperative, Inc. ("OTEC") alleging employment discrimination. Specif
                                                                       the Age Discrimination in
OTEC discriminated against him on the basis of age in violation of
                                                                        against him in violation of
Employment Act ("ADE N') fmd Oregon state law; (2) OTEC retaliated



                                                                                            {fuYlD}
Page 1 - OPINION AND ORDE R
        Case 2:10-cv-01337-AC          Document 60       Filed 05/08/12      Page 2 of 41




the Family and Medical Leave Act ("FMLA") and the Oregon Family Leave Act ("OFLA"); and (3)

OTEC discriminated against him in violation of the Americans with Disabilities Act ("ADA") and

Oregon state law. l

       This court has federal question subject matter jurisdiction under 28 U.S.C.§ 1331 to hear

Rogers's claims under federal statutOlY law. This court also has supplemental jurisdiction over

Rogers's state law claims pursuant to 28 U.S.C. § 1367, as the state law claims arise out of the same

nucleus of operative fact as his federal claims.

       OTEC now seeks summary judgment on all three of Rogers's claims. Rogers, in response,

opposes the motion and separately moves to strike selected pOliions of the evidentimy record. For

the reasons set fOlih below, OTEC's motion is granted in part and denied in pmi, and Rogers's

motion to strike is granted in part and denied in pmi.

                                            Background

1. Factual Background

       OTEC is a non-profit electric cooperative with its principal place of business in Baker City,

Oregon. OTEC also has offices in La Grande, John Day, and Burns, Oregon - one for each district

that OTEC services. Ray Decl. ~2. The policies at OTEC are created by a board of directors ("the

Board"). Ray Dec!. ~ 2. The highest-ranking employee at OTEC is the general manager, who is in

charge of day-to-day management. Ray Dec!. ~ 3. Reporting to the general manager is the

operations manager, who is in charge of business operations at OTEC. Ray Dec!. ~ 4.

       Rogers is a 65-year-old Oregon resident formerly employed by OTEC. Rogers Dep. 11: 13-




         lRogers now asserts on summmy judgment that he is pursuing an interference claim. This
shift of his family leave claim is addressed later in this opinion.

Page 2 - OPINION AND ORDER                                                                  {RMD}
        Case 2:10-cv-01337-AC         Document 60      Filed 05/08/12     Page 3 of 41




14, 14:3-6, Aug. 31, 2011. Rogers was hired in 2002 to be OTEC's Baker District line

superintendent ("Superintendent position") by then-General Manager CliffStewmi ("Stewart") and

then-Operations Manager Ken Kissell ("Kissell"). Rogers Dep. 13 :25-14:6.

        At the time Rogers was hired, there was one District Line Supervisor in each of the four

districts that OTEC services (Baker, La Grande, John Day, and Burns). Ray Dec!. ~ 6. The

Superintendent is charged with, among other things, detelmining the manpower and equipment

required for each project, supervising the workers who complete those projects, and coordinating

construction work with state agencies and other companies. Ray Dec!. ~ 6.

       In 2005, the Board selected Rogers as the Employee of the Year because he "took charge"

after he was hired. Rogers Dec!. ~ 2. Two years later, however, Rogers was terminated by Stewart

and Kissell, allegedly because they were dissatisfied with Rogers's job perfOlmance. Rogers Dep.

220:2-15. Before he was fired, Rogers repOlied to the Board that Kissell and Stewart had been

contracting out jobs that OTEC could have performed at a lower cost to the company. Rogers Dep.

220:2-15. Soon, Kissel! and Stewmi began finding insufficiencies in Rogers's work, leading to his

termination. A week after Rogers was telminated, the board reinstated Rogers and fired Stewmi.

Rogers Dep. 220:2-15.

       The Board hired Werner Buehler ("Buehler") to be OTEC's new general manager. Ray Dee!.

~ 3.   In February, 2008, Kissell gave Rogers a positive perfOlmanee review, and, after an

investigation by an attorney into Rogers's 2007 telmination, Buehler awarded Rogers a 13% raise

and a lump sum payment as compensation for raises Rogers should have received while Stewmi was

general manager. Lloyd Aff. Ex. J, K. Also in February 2008, Kissell resigned his position and

OTEC hired Bill Butner ("Butner") as interim operations manager. Lloyd Aff. Ex. L; Buehler Dep.


Page 3 - OPINION AND ORDER                                                               {RJV1D}
          Case 2:10-cv-01337-AC         Document 60       Filed 05/08/12     Page 4 of 41




25:15-20, Sept. 1,2011. Later, Jim Putman ("Putman") was hired as the permanent operations

manager, and Buehler hired Debby Ray ("Ray") to fill the newly created human resources manager

position. Buehler Dep. 28:3-5, 24:23-25:4

         For a brief period in 2008, Rogers was the superintendent for both the Baker District and

John Day District. Rogers Dep. 29: 12-16. Putman told Rogers he was offered the position because

of his experience and knowledge of OTEC operations. Rogers Dec!. ~ 4. Rogers accepted the

position initially, but later declined because the compensation was not acceptable to him and his

work was suffering as a result of trying to cover both districts. Rogers Dep. 29:15.

         Early in 2009, Putman was scheduled to issue Rogers a performance review. Rogers Dec!.

~ 8.   Putman did not issue a formal written review, but the two met informally to discuss Rogers's

perfOimance. Rogers Dec!. ~ 8. At the meeting, Putman expressed general satisfaction with

Rogers's work, though he noted Rogers "dropped the ball a little" while covering both Baker and

John Day Districts. Rogers Dec!. ~ 8. Further, Putman told Rogers that his computer skills were not

very good, and could use improvement. Rogers Dec!. ~ 8. Rogers acknowledged that these were fair

criticisms. Rogers Dec!. ~ 8.

         Rogers suffers from deep vein tln'ombosis, causing blood clots throughout his body, and

degenerative joint disease, or osteoatiln'itis, that causes him pain in his hip and leg. Rogers Dec!.

~ 3. Early in 2009, Rogers notified OTEC that he would be taking a medical leave of absence in


order to have hip replacement surgely. Lloyd Aff. Ex. P. ShOlily after Rogers notified QTEC of his

coming operation, Putman asked Rogers how long he wanted to work at OTEC, and inquired

generally about his health. Rogers Dec!. ~ 5. Rogers responded that he wanted to work at OTEC

until he was 65, and his health was pretty good, with the exception of his upcoming surgely. Rogers


Page 4 - OPINION AND ORDER                                                                  {RMD}
        Case 2:10-cv-01337-AC          Document 60       Filed 05/08/12      Page 5 of 41




Dec!. 'II 5. During this discussion, Putman asked Rogers if he would consider agreeing to early

retirement in retum for monetmy consideration (a "buyout"). Rogers Dec!. 'II 5. Rogers said he

would consider a buyout, but no fuliher action was taken by either party to effectuate an agreement.

Rogers Dec!.   '1 5.
       Rogers was on medical leave from March 29,2009 to May 31,2009. Rogers Dec!. '116.

Rogers was initially released to work light duty, and, although he walked with a cane, Rogers was

able to perform his work as superintendent when he retumed to work. Rogers Dec!. '117. On July

1, Rogers was released to retum to regular duty with no restrictions, and he remained on regular duty

until he resigned. Rogers Dep. 129: 1-13

       While Rogers was on leave, Putman resigned his position and OTEC hired Don Jordan

("Jordan") to be the new operations manager. 2 Buehler Dep. 76:19-22. Soon afterward, Rogers

alleges, OTEC employees began speaking with Rogers about his health and age. After Rogers

retumed from medical leave, Jordan questioned Rogers about his health three separate times. Rogers

Dep. 94:1-95: 12. When Rogers responded that he was fine, Jordan pressed him, asking, "are you

sure?" Rogers Dep. 94: 1-95:12. Also, when OTEC lemned of Roger's desire to work until he was

65, Ray told another OTEC employee to encourage Rogers to retire. Lloyd Aff. Ex. MM. Further,

in June, 2009, Rogers attended a graduation ceremony and had a chance encounter with Board

Member Dave Baum ("Baum"): Rogers Dep. 62: 14-63 :25. Baum asked Rogers about his retirement

plans and, upon learning that Rogers wished to work until he was 65, Baum responded, "you don't

know what your health's going to be like. You should retire as soon as you can." Rogers Dep.

62:14-63:25.


       2Jm'dan was killed in a motorcycle accident in May 2011.

Page 5 - OPINION AND ORDER                                                                  {RJYlD}
        Case 2:10-cv-01337-AC           Document 60       Filed 05/08/12     Page 6 of 41




        Soon after he was hired, Jordan became critical of Rogers's job performance. Jordan first·

criticized Rogers for "dropping the ball" on a project that had been started by OTEC while Rogers

was on leave. Lloyd Aff. Ex. W. Rogers believed the criticisms were unwarranted, and wrote a

letter to Jordan explaining why he thought Jordan had insufficient experience to criticize his job

performance. Def. Ex. D. In his letter, Rogers made references to his superiors "micro-managing,"

and "sneaking around like ... coyote[s]." Def.'s Ex. D. Jordan was angered by the letter, and

viewed it as a personal attack. Jordan also believed that Rogers was trying to shirk responsibility

for his failures on the job. Def.'s Ex. D p. 4.

       The second incident that led Jordan to criticize Rogers OCCUlTed about a month later in

August 2009. A responsibility of the operations department, in which Jordan and Rogers worked,

is to respond to emergency service calls that come in over the radio. Rogers Dep. 97:1-98:24. One

day, Rogers notified Jordan that he would be out of the office on a work-related matter. Rogers Dep.

99: 12-1 00: 16. According to Rogers, Jordan said he would find someone to cover the radio. Rogers

Dep. 100: 11-16. While Rogers was gone, OTEC received an emergency call on the radio regarding

a power line possibly being down. Rogers Dep. 106:9-14. The operations depaliment was mostly

empty and there were no employees to cover the radio. In reality, there was no emergency, but

nonetheless, Jordan issued Rogers a verbal warning for failing to ensure the radio was covered.

Lloyd Aff. Ex. W.

       Later in August, Jordan met with Rogers to issue a written warning for Rogers's alleged

unsatisfactOlY performance. Lloyd Aff. Ex. Y. Rogers thought that the warning was umvalTanted

because the reasons listed in the letter for its issuance were not his responsibility. Rogers Dec!. ~

12. Accordingly, Rogers refused to sign the letter or acknowledge the warning. Rogers Dec!. ~ 13.


Page 6 - OPINION AND ORDER                                                                  {RMD}
        Case 2:10-cv-01337-AC         Document 60       Filed 05/08/12     Page 7 of 41




At that meeting, Jordan informed Rogers that he would be removed from his line superintendent

position and reassigned to a different position. Rogers Decl. ~ 13. Jordan also told Rogers not to

tell his subordinates that he had been removed as line superintendent. Buehler Decl. ~ 5.

       Prior to removing Rogers as Superintendent, Jordan asked Rogers to complete a self-

appraisal of his job as Superintendent.     Rogers Dep. 274:3-275: 2. Rogers completed his

performance self-review and asked two of his subordinates to fill out reviews of Rogers's job

performance as well. Rogers Dep. 274:19-24. All three reviewers rated Rogers performance as

"meet[ing] expectations" or "exhibit[ing] leadership" in all aspects of his work. Rogers Decl. Ex.

2-3.

       Several days after Jordan told Rogers that he was being removed from the Superintendent

position, Jordan and Buehler met with Tim Peterson ("Peterson") before Peterson resigned his

regulatory compliance technician ("RCT") position at OTEC. Buehler Decl. ~~ 6-7. At that

meeting, Peterson told Buehler and Jordan that they should give the soon-to-be empty RCT position

to Rogers because he had expressed interest in it. Buehler Decl. ~ 7. An RCT is responsible for

visually inspecting power lines, often in uneven, rural terrain. Peterson Decl. ~~ 2-3. The job

typically requires lots of walking, but an all-terrain vehicle is provided to employees to do

inspections. Peterson Decl. ~ 3.

       The same day as the breakfast with Peterson, Jordan asked Rogers to "line out the crews for

the day." Rogers Dep. 136:11-137:25. When Rogers met with the work crews, he told them that

he would no longer be Superintendent. Rogers Dep. 153 :9-154:6. At the crews' request, Rogers

brought Jordan into the crew meeting. Rogers Dep. 154:5-12. Upon learning that Rogers disobeyed

him by informing the crews of his demotion, Jordan became angry and told Rogers to go to his


Page 7 - OPINION AND ORDER                                                                  {RLvlD}
          Case 2:10-cv-01337-AC        Document 60        Filed 05/08/12    Page 8 of 41




office. Rogers Dep. 154: 15-16. OTEC claims that Rogers then invaded Jordan's personal space and,

upon exiting the room, stared at Jordan through the glass windo\v in the door. Def.'s Ex. L.

Subsequently, Jordan issued Rogers a written waming for insubordination. Def.'s Ex. L ..

        Buehler met with both Jordan and Rogers to defuse the situation. Buehler Dec!. 'II 8. After

they both calmed down, Buehler offered Rogers the RCT job, and later notified Rogers that he would

experience a pay cut from $93,192 per year to $73,971 per year because Rogers no longer supervised

employees. Buehler Dec!. 'II 8. However, OTEC employee Bill Neilson was transfelTed from a

Superintendent position to RCT in 2008 with no reduction in his salary. NeilsonDep. 13:4-11, Sept.

1,2011.

       Rogers hesitated, but accepted the RCT position when Buehler infOln1ed Rogers that he

would be terminated if he did not accept. Rogers Dec!. 'II 13. The following day, Rogers began

training with Peterson for the RCT position. Rogers Dec!. 'II 14. Rogers claims that by the end of

the week, his leg hurt badly from walking so much during training. Rogers Dec!. 'il14.

       After OTEC removed Rogers as Superintendent, Jordanjustified it by telling a co-worker that

"Rod is old schoo!." Schmidt Dec!. 'II 6. Further, Jordan claimed Rogers would never be able to go

where OTEC was tlying to go, technology wise. Schmidt Dec!. 'il6. OTEC also justified Rogers's

removal because, due to the economic recession, it experienced significant revenue declines and

needed to cut costs. Buehler Dec!. 'II'll 4, 8. Buehler, therefore, eliminated Rogers's position and

consolidated it into the La Grande District Line Superintendent position held by Claud Morgan, a

sixty-four year-old OTEC employee. Buehler Dec!. 'II 4.

       At the end of August, 2009, Rogers called a member of the board of directors to discuss his

employment situation. Lloyd Aff. Ex. II, n. It is against OTEC policy for an employee to


Page 8 - OPINION AND ORDER                                                                 {RivID}
        Case 2:10-cv-01337-AC          Document 60       Filed 05/08/12     Page 9 of 41




circumvent the chain of command by contacting a board member to address an issue that would

normally be handled by a direct superior. Lloyd. Aff. Ex. JJ. The Board informed Jordan of

Rogers's contact, prompting Jordan to send a memorandum to Rogers that outlined the proper policy

for addressing employment concems. Lloyd Aff. Ex. JJ.

       In early September, 2009, Rogers met with Jordan and Ray, who offered Rogers a buyout.

Rogers Dec!. '\[16. The offer stipulated that if Rogers resigned from OTEC, he would receive his

Superintendent salary until the end of 2009 and a one-time payment of $22,000. Rogers Dep.

170:20-25. Rogers alleges Jordan then said that the money would help Rogers because he "might

be more crippled" by age 65 when Rogers wanted to retire. Rogers Dec!. '\[18. OTEC disputes this

fact and claims Jordan never uttered "the cripple comment."

        On September 14, 2009, Rogers requested and received a medical leave of absence from

work. Ray Dec!. '\[21. Rogers collected disability benefits for roughly two years and resigned his

position at OTEC on April 8, 20 II. Ray Dec!. '\[21.

II. Procedural Background

       On February 19, 2010, Rogers filed a complaint with the Oregon Bureau of Labor and

Industly ("BOLT") that alleged the following: (1) Retaliation for taking medical leave pursuant to

the FMLA; (2) retaliation for taking medical leave pursuant to the OFLA; (3) age discrimination in

violation of the ADEA; (4) age discrimination in violation of OR. REv. STAT. § 659A.030; (5)

disability discrimination in violation of the ADA; and (6) disability discrimination in violation of

OR. REV. STAT. § 659A.l12. Def.'s Ex. D.

       Rogers received a notice of right to sue from BOLT on August 1,20 I 0, and subsequently filed

this civil suit on October 26, 2010, alleging the same six claims he alleged in his BOLT complaint.


Page 9 - OPINION AND ORDER                                                                  {RlVlD}
        Case 2:10-cv-01337-AC         Document 60        Filed 05/08/12     Page 10 of 41




                                          Legal Standards

I. Motion to Strike

        When ruling on a motion for summmy judgment, the court may only consider evidence that

is based on personal knowledge, properly authenticated, and admissible under the Federal Rules of

Evidence. FED. R. CIV. P. 56(c), (e); Block v. City of L.A., 253 FJd 410,419 (9th Cir. 2001).

       At the summmy judgment stage, the court is tasked with detelmining what evidence bears

on the particular motion before it. Kesey, L.L.c. v. Francis, No. CV. 06-540-AC, 2009 WL 909530,

at *15 (D. Or. April 3, 2009). In doing so, the court necessarily considers all relevant evidence and

excludes all irrelevant evidence from its inquiry. Id. Accordingly, to the extent that Rogers moves

to exclude evidence as irrelevant, those motions are not explicitly addressed in this opinion, but

instead, are implicit in the cOUli's ruling on the motion for summary judgment. The cOUli will,

however, resolve other objections to admissibility such as hearsay, personal knowledge, etc. Id.

II. Motion for Summary Judgment

       Summary judgment is appropriate when there are no genuine issues of material fact and the

moving party is entitled to judgment as a matter oflaw. FED. R. CIV. P. 56(a). The movant has the

burden of showing the absence of genuine issues of material fact. Celotex Corp. v. Catrett, 477 U.S.

317,323 (1986). When ruling, the court must draw all reasonable inferences and view all material

facts in favor of the nonmoving pmiy. Anderson v. Liberty Lobby, 477 U.S. 242,255 (1986).

       Summary judgment is disfavored in employment discrimination cases "because the ultimate

question is one that can only be resolved through a 'searching inquiry' - one that is most

appropriately conducted by the factfinder upon a full record." Schnidring v. Colillnbia Machine,


Page 10 - OPINION AND ORDER                                                                 {RMD}
        Case 2:10-cv-01337-AC          Document 60         Filed 05/08/12    Page 11 of 41




Inc., 80 F.3d 1406, 1410 (9th Cir. 1996). A motion for summaty judgment should be denied if a

rational trier offact could find that the employer's action was discriminatory. Id·

                                             Discllssion

1. Motion to Strike

        Rogers moves to strike the following evidence from the record: (a) Evidence regarding OTEC

employees George Peacock and Robin Stone; (b) OTEC exhibits B, C, P, Q, and R; (c) portions of

Buehler's Declaration; (d) pOliions of Ray's Declaration; and (e) OTEC exhibits G and H. As a

preliminary matter, OTEC concedes the inadmissibility of evidence regarding George Peacock and

Robin Stone. Regardless, this is i11'e1evant evidence not considered by the court in deciding the

motion for summaty judgment.

        A. Exhibits B, C, P, Q, and R.

       Rogers asks the court to exclude OTEC Exhibits B, C, P, Q, and R because affiants Buehler

and Ray lack personal knowledge of the subject matter contained therein. Exhibits B, C, P, Q, and

R are memoranda created by Kissell expressing his dissatisfaction with Rogers's job performance.

OTEC argues that Ray, as director of human resources, gained personal knowledge of these exhibits

by reviewing Rogers's personnel records, which fall into the business records hearsay exception.

       An affiant can obtain personal knowledge of events and actions that the affiant did not

personally witness by reviewing pertinent records. Wash. Cent. R. Co. v. Nat '1 ily!ediation Bd, 830

F.Supp. 1343, 1353 (E.D. Wash.1993). Documents reviewed in order to gain personal knowledge

are often hearsay; thus, testimony regarding the contents of records is admissible only if the records

fall within a hearsay exception. FED. R. EVlD. 802.

       Evidence falls under the business records hearsay exception when it was:             (I) made


Page 11 - OPINION AND ORDER                                                                  {RMD}
       Case 2:10-cv-01337-AC          Document 60       Filed 05/08/12     Page 12 of 41




contemporaneously to the events discussed therein; (2) made or transmitted by an individual with

personal knowledge; (3) kept in the course of a regularly conducted business activity; and (4)

accompanied by supporting testimony. Clark v. City of L.A., 650 F.2d 1033, 1036-37 (9th Cir.

1981); FED.R.EvID. 803(6).

       All of the requirements for the business records exception are met. These exhibits were made

contemporaneously to the events discussed. These records were all created between November,

2004, when Kissell first became critical of Rogers's work, and September, 2007, when Kissell and

Stewmi terminated Rogers from OTEC. These records were also made and transmitted by an

individual with personal knowledge. Kissell, as Rogers's supervisor, had personal knowledge of

Rogers's job performance. These memoranda were also kept in the course of a regularly conducted

business activity. Businesses often keep disciplinary memoranda in written fOlID to keep track of

disciplinary activities. That these memoranda were kept in the regulm course of business by OTEC

is also evidenced by similm' memoranda written by Jordan in 2009 that documented the disciplinary

warnings he issued to Rogers. Finally, Ray's suppOliing testimony accompanies the information.

In her reply declaration, she writes, "[a]s Director of Human Resources for OTEC, I do have

personal knowledge that [Exhibits B, C, P, Q, and R] are persOlmel records that are made and kept

in the regular course ofOTEC's regularly conducted business activity and are routinely relied on by

OTEC in that business activity." Ray Reply Dec!. ~ 10.

       Because Ray has personal knowledge of subject matter contained in records that fall within

a hearsay exception, OTEC's exhibits B, C, P, Q, and R are admissible evidence.

       B. Buehler's Declaration.

       Rogers also moves to strike the following pOliion from Buehler's declaration: "During the


Page 12 - OPINION AND ORDER                                                               {fuV1D}
        Case 2:10-cv-01337-AC          Document 60       Filed 05/08/12     Page 13 of 41




breakfast, Mr. Peterson stated that Mr. Rogers had been asking questions about the duties ofthe RCT

position that Mr. Peters()n would be vacating, and that Mr. Rogers had expressed interest in that

position. Mr. Peterson told Mr. Jordan and I that we should give the RCT position to Mr. Rogers."

Buehler Decl. ~7. Rogers argues that tlus statement is hearsay. OTEC, however, contends that

Peterson's comments do not constitute hearsay because they are not offered to prove the truth of the

matter assel1ed. The court finds OTEC's argument persuasive.

        Hearsay is an out of cou11 statement offered to prove the truth ofthe matter asserted. FED.

R. EVID. 801(c). Peterson's statements, though, are not offered to prove that Rogers wanted to be

transfened to the RCT position. Whether Rogers actually desired the RCT position is inelevant to

the cou11's analysis. Instead, Peterson's statements are offered to show the effect they had on

Buehler; specifically, that Buehler subjectively believed Rogers wanted to be transfeITed to the RCT

position. Rogers's motion to strike portions of Buehler's declaration is denied.

        C. Ray's Declaration

        Rogers moves to strike the following sections from the Declaration of Debby Ray:

       In 2007, Mr. Rogers was fired by General manager Cliff Stewart and Operations Manager
       Ken Kissell because they believed Mr. Rogers' [sic] job performance was unsatisfactory.
       (Ray Dec!. ~ 8.)

       During his first few weeks on the job, Mr. Jordan assessed his subordinates and became
       dissatisfied with, and critical of the quality OfNIr. Rogers' [sic1job performance. (Ray Dec!.
       ~ 13.)


Rogers argues that these statements are inadmissible hearsay or, alternatively, that Ray has no

personal knowledge of the statements.

       The two excerpts in Ray's declaration do not constitute hearsay. Ray does not mention any

"statement" or "assel1ion" made by StewaJ1, Kissell, or Jordan. She only asserts facts that relate to


Page 13 - OPINION AND ORDER                                                                 {RlVID}
        Case 2:10-cv-01337-AC          Document 60       Filed 05/08/12     Page 14 of 41




actions taken by those individuals. Accordingly, the proper objection is lack of personal knowledge.

As discussed previously, however, Ray, as OTEC' s director of human resources, gained personal

knowledge ofthe aforementioned events through review of Rogers 's personnel file which falls under

the business records hearsay exception.

       Regardless, the court may deny a motion to strike when the information contained in the

challenged portion of the record appears elsewhere on the record without objection. See Ryan v.

Patterson Dental Supply, Inc., No. CV-98-1177-ST, CV-98-1177-HA, 2000 WL 640859, at *9

(D. Or. May 12, 2000) ("Because the evidence is found elsewhere in the record without any

objection by [Plaintiff] as to prejudice or hearsay, this motion is denied.") Here, the information

contained in ~ 8 of Ray's Declaration appears in Rogers's deposition at 59:9-13 and 194: 11-19, and

the information contained in ~ 13 appears in OTEC Exhibits E, and 1-L, and again in Rogers's

declaration at ~12. Accordingly, the motion to strike is denied.

       D. Exhibits G and H

       Finally, Rogers moves to strike OTEC Exhibits G and H because they are inadmissible

hearsay or alternatively, because Ray lacks personal knowledge of the contents of those exhibits.

Exhibits G and H are copies of emails written regarding the events that led Jordan to issue his first

two disciplinary warnings to Rogers. OTEC argues that these emails are admissible under the

business records exception to the hearsay rule.

       Ray wrote in her reply declaration, "I do have personal knowledge that [Exhibits G and H)

are personnel records that are made and kept in the regular course of OTEC's regularly conducted

business activity ... " Ray Dec!. ~13. By contrast, Ray writes in ~ 11, "1 have personal knowledge

that this fact is shown in OTEC's personnel records ... " The couli notes that Ray is claiming not


Page 14 - OPINION AND ORDER                                                                 {fuYID}
        Case 2:10-cv-01337-AC          Document 60       Filed 05/08/12      Page 15 of 41




only that the emails were present in the personnel files, but that the emails themselves qualify as

personnel records.

        Courts are in disagreement on whether emails can and should fall under the business records

hearsay exception. Emails do not fit neatly into the business records exception. The rationale behind

the business records exception is that there is an assumption that records containing information

necessary to efficiently nm a business will be accurate and reliable. u.s. v. },iiller, 830 F.2d 1073,

1077 (9th Cir. 1987). Email is a casual form of connnunication that does not hold the same

expectation of trustworthiness as other records usually kept in the course of business. 3 The fact

remains, however, that as businesses look to communicate in a cheaper and more efficient manner,

formal memoranda and paper communication increasingly have given way to email and other

electronic media.

       In lvionotype Corp. PLC v. International Typeface Corp., the Ninth Circuit held that emails

were not automatically admissible under the business records hearsay exception. 43 F.3d 443, 450

(9th Cir. 1994). The court reasoned that ..E-mail is far less of a systematic business activity than"

other computer generated business records. Id. However, the manner in which businesses utilize

email has changed drastically in the eighteen years since lvionotype was decided. In fact, in recent

years, district couti judges within the Ninth Circuit have found emails to be admissible under the




        3"There is neither a fonnalnor a principled reason why email messages could not satisfy
the exception, but the medium in its most common use seems close to the telephone in casual and
spontaneous informality, and far removed from systematic and pennanent recordkeeping. Unless
email were adapted to permanent and more systematic recordkeeping purposes, it seems likely
that the content of email messages will fail to satisfy the "regular practice" requirement of the
exception and the casual ... nature of such messages surely raises trustworthiness concerns under .
FRE 803(6)." 4 CHRISTOPHER B. MUELLER & LAIRD C. KIRKPATRICK, FEDERAL EVIDENCE § 446
(2d ed. Supp. 2005).
Page 15 - OPINION AND ORDER                                                                  {MID}
        Case 2:10-cv-01337-AC          Document 60       Filed 05/08/12      Page 16 of 41




business records exception, albeit without much analysis. E.g., Ionian Corp. v. Country Alut. Ins.

Co., No. 3: lO--cv-OI 99-ST, 2011 WL 6070442, at *2, * 18 (D. Or. Dec. 2, 2011)(admitting emails

as business records); Volterra Semiconductor CO/po v. Primarion, Inc., No. C-08-05129 JCS, 20 II

WL 4079223, at *7 (N.D. Cal. Sept. 12,2011) ("[Plaintiff! laid a foundation at trial establishing that

the email was admissible under the business record exception to the hearsay rule."); Age Group Ltd.

v. Regal West Corp., No. C07-1303BHS, 2008 WL 4934039, at *2-3 (W.D.Wash. Nov. 14,2008)

(excluding email evidence, but only because .the proponent failed to lay the foundation to qualify

the emails as business records).

       Other district courts have closely analyzed emails under the business records exception to

implement the exception's purpose. One such case that sets forth a straightforward and coherenttest

to determine whether emails constitute business records within the meaning of rule 803(6) is In re

Oil Spill by the Oil Rig Deepwater Horizon in the Gulf ojjv!ex., on Apr. 20, 2010, MDL No. 2179,

2012 WL 85447, at *3 (E. D. La. Jan. 11,2012). There, the couli explained:

                First of all, the email must have been sent or received at or near the time of
       the event(s) recorded in the email. Thus, one must look at each email's content to
       determine whether the email was created contemporaneously with the sender's
       acquisition of the infOlmation within the email. Second, the email must have been
       sent by someone with knowledge of the event(s) documented in the email. This
       requires a particularized inquiry as to whether the declai'ant-the composer of the
       email-possessed personal knowledge of the information in the email. Third, the
       email must have been sent or received in the course of a regular business activity,
       which requires a case-by-case analysis of whether the producing defendant had a
       policy or imposed a business duty on its employee to report or record the information
       within the email. Foulih, it must be the producing defendant's regular practice to send
       or receive emails that record the type of event(s) documented in the email. This
       would require proof of a policy of the producing defendant to use email to make
       celiain types of reports or to send certain SOlis of communications; it is not enough
       to say that as a general business matter, most companies receive and send emails as
       part of their business model. Fifth, a custodian or qualified witness must attest that
       these conditions have been fulfilled-which certainly requires an email-by-email
       inquiry. Lastly, the objecting defendant is pelmitted under the rule to argue that the

Page 16 - OPINION AND ORDER                                                                  {RMD}
        Case 2:10-cv-01337-AC          Document 60       Filed 05/08/12      Page 17 of 41




        patiicular email should be excluded due to concerns oflack of trustworthiness, based
        on the information source underlying the email content or the circumstances under
        which the email was sent and received. Clearly, there is no across-the-board rule that
        all emails are admissible as business records.

Id (Footnotes omitted).

       In Lorraine v. lvlarkel Am. Ins. Co. Magistrate Judge Grimm ofthe District of Maryland also

sets a high bar for the specificity required of testimony accompanying evidence a proponent wishes

to admit under Rule 803(6). 241 F.R.D. 534, 545-46 (D. Md. 2007). He writes:

               It is necessary, however, that the authenticating witness provide factual
       specificity about the process by which the electronically stored information is
       created, acquired, maintained, and preserved . . . as opposed to boilerplate,
       conc1usOlY statements that simply panot the elements of the business record
       exception to the hearsay rule.

Id Judge Grimmjustifies this stance by noting that courts' approaches to emails under the business

records exception vary widely, and "[b]ecause it can be expected that electronic evidence will

constitute much, if not most, of the evidence used in future motions practice or at trial, counsel

should know how to get it right on the first tlY." Id at 585. See Also, In re Vee Vinhnee, 336 B.R.

437,445 (9th Cir. BAP 2005) (The increasing complexity of computer technology requires a more

precise focus because electronic documents are easier to alter after creation); State of IV Y. v.

AIicrosoft, No. ClV A. 98-1233(CKK), 2002 WL 649951, at *14 (D.C.C. Apr. 12,2002) (to

establish a proper foundation, the proponent must establish that the maker and all other participants

in the email chain acted in the regular course of business).

       The practice of generating and systematically retaining email varies significantly among

business entities based on their size, sophistication, and policy. Notwithstanding, the ubiquitous

nature of emails that Judge Grimm recognizes inevitably requires the court to admit emails as

evidence in a variety of cases. Holding emails to some standard under the business records hearsay

Page 17 - OPINION AND ORDER                                                                  {RJIlD}
       Case 2:10-cv-01337-AC          Document 60        Filed 05/08/12     Page 18 of 41




exception, as opposed to broadly accepting them as admissible business records, is the best approach.

Accordingly, this court adopts the test articulated in Deepwater Horizon and will now apply it to

Exhibits G and H.

       Applying this test, OTEC has not carried its burden. In Ray's affidavit, she declares, "I do

have personal knowledge that [Exhibits G and H] are personnel records that are made and kept in

the regular course of OTEC's regularly conducted business activity and are routinely relied on by

OTEC in that business activity." Ray Reply Dec!. ~13. Ray does not articulate whether the

individuals sending the email have personal knowledge ofthe events discussed therein; does not put

forth evidence of a policy that imposed a business duty on OTEC employees to send and retain

emails. Further, Ray did not analyze the applicability of the test on an email-by-email basis. Beyond

Ray's declaration, there is not enough evidence on the record to declare the emails business records.

       Further, Exhibits G and Rcan be distinguished from Exhibits B, C, P, Q, and R that the court

has already found fall within the business records exception because, while Ray describes those

memoranda in similar terms ("those Exhibits are personnel records"), Exhibits B, C, P, Q, and R

were formal memoranda issued in conjunction with disciplinary action and performance reviews

pertaining to one individual (Rogers). Disciplinary memoranda are designed to be a formal record

of disciplinary problems and carry a stronger presumption of accuracy and reliability than email,

which is an informal mode of communication that is not inherently reliable. Accordingly, Rogers's

motion to strike Exhibits G and R is granted.

II. Motion for Summary Judgment

       A. Age Discrimination

       OTEC first seeks summary judgment on Rogers's age discrimination claims. Under the


Page 18 - OPINION AND ORDER                                                                 {fuvID}
        Case 2:10-cv-01337-AC         Document 60         Filed 05/08/12     Page 19 of 41




ADEA and Oregon state law, it is unlawful for an employer to discriminate against an employee in

employment decisions "because of[an] individual's age." 29 U.S.C. §§ 621-634; OR. REV. STAT.

§ 659A.030. Courts have interpreted the statutes' "because. of' language to require a plaintiff to

prove age was abut-for cause of an adverse employment decision. Gross v. FBL Fin. Sen'., Inc.,

557 U.S. 167, 129 S.Ct. 2343, 2350 (2009). That age must be a but-for cause of an employment

decision does not require that age be the sole motivation for the employer's actions. Cancellier v.

Federated Dept. Stores, 672 F.2d 1312, 1316 (9th Cir. 1982). Other factors like discipline may also

factor in to the employer's decision.      Id.     Instead, "age must 'make a difference' between

telmination and retention of the employee in the sense that, but-for the presence of age

discrimination, the employee would not have been discharged." Id.

       Rogers argues that the "but-for" test does not apply to the state age discrimination claim, but

urges the couli to apply a test whereby he can succeed in his claim if age was a "substantial factor"

in the adverse employment decision. In ivforrow v. Bard Access Sys., Inc., another judge in this

district applied the "substantial factor" test to a state age discrimination case.                No.

3:10-CV-00209-JO, 2011 WL 2471525, at *2 (D. Or. June 20, 2011). Unlike the ADEA, which

only covers age discrimination, OR. REv. STAT. § 659A.030 makes unlawful age, race, and religious

discrimination, to which Oregon courts apply the "substantial factor" test. Id. The },forrow court

reasoned that it would be anomalous to apply different standards to types of discrimination that are

all covered by the same statutory provision. Id.

       However, in Ogden v. Bureau a/Labor, the Oregon Supreme COUli upheld the Oregon COUli

of Appeals' decision to apply the but-for test to a state age discrimination claim. 68 Or.App. 235,

243 (Or. App. 1984), aJJ'd in rei part, 299 Or. 98 (1985). There, the court rejected the employer's


Page 19 - OPINION AND ORDER                                                                  {RMD}
       Case 2:10-cv-01337-AC          Document 60        Filed 05/08/12     Page 20 of 41




argument that it should apply the sole causation standard, holding that "the legislature meant to

prohibit the use of age as a detelmining factor," and, "[tJhe critical issue is whether ... age made a

difference." Id at244-45. The Oregon Supreme Court, despite finding the tenn "but-for causation"

ambiguous, affhmed, holding that the court must detelmine whether "age in fact caused the

unfavorable treatment." 299 Or. 98, 103 (1985) (intemal quotation marks omitted). In addition,

Oregon cOUlis use federal interpretations of the ADEA to infOlm the interpretation of the state age

discrimination statute. Id. at 243; Clackamas Fire Protection Dist. No. 1 v. Or. Bureau ofLabor and

Indus., 50 Or.App. 337, 349 (Or. App. 1981). Because federal courts are bound to follow the

decision of the state's highest court when interpreting state law, this court applies the but-for

causation test to both the ADEA and Oregon state age discrimination claims. Peck v. AT&T

lvIability, 632 F.3d 1123, 1125 (9th Cir. 2011).

       OTEC argues that Rogers cannot prove but-for causation because Rogers testified in his

deposition that the adverse employment action was taken because ofthree "equal reasons": (1) his

age; (2) his hip condition; and (3) the fact that he took medical leave. This argument fails for two

reasons. First, OTEC conflates but-for causation with sole causation. For a plaintiffto succeed in

an age discrimination case, age must be a determining factor, not the only factor. Further, OTEC

bases its argument on Rogers's subjective beliefs as expressed in his deposition. The actual

motivation of the employer, not the subjective belief of the employee, is all that is relevant in an

employment discrimination case. Rogers, therefore, may still succeed in his age discrimination case

despite asserting disability discrimination and discrimination because of medical leave.

       A plaintiff can prove a case of employment discrimination by introducing direct evidence or

indirect evidence. Schnidrig v. Columbia }(iach., lnc., 80 FJd 1406, 1410 (9th Cir. 1996). If the


Page 20 - OPINION AND ORDER                                                                  {MID}
        Case 2:10-cv-01337-AC          Document 60        Filed 05/08/12      Page 21 of 41




plaintiff establishes a prima facie case by introducing direct evidence, he has necessarily raised a

genuine issue of material fact, and the court's analysis is at an end. Shelley v. Geren, 666 F.3d 599,

615 (9th Cir. 2012). If, however, the plaintiff relies on indirect evidence, the court applies a burden-

shifting test articulated in },IcDonnell Douglas CO/po v. Green, 411 U.S. 792, 802 (1973).

                1. Direct evidence

       Rogers first contends that summary judgment is improper because he can prove his case

through direct evidence. OTEC argues that his evidence is not direct evidence, and the court should

instead apply the burden-shifting approach.

       "Direct evidence is evidence 'which, if believed, proves the fact [of discriminatory animus]

without inference or presumption," and "typically consists of clearly sexist, racist, or similarly

discriminatOlY statements or actions by the employer." Coghlan v. Am. Seafoods Co., 413 F.3d

1090, 1095 (9th Cir. 2005). Direct evidence is rare, and usually arises only when the employer

admits to having a discriminatOlY motive. ld.

       In Dossal v. HojJman-La Roche Inc., the District of Nevada held that a supervisor's

comments that the plaintiff was "old school," not a proper fit for the "new environment," and made

comments     about    retiring   was    sufficient   evidence    to   demonstrate     pretext.      No.

2:09-CV-00245-KJD-PAL, 2011 WL 1299621, at *1, *4-5 (D. Nev. March 31, 2011). However,

in Culver v. QlVesl Comlll. CO/p., another judge in this district found statements referring to the

plaintiff as "old man," "old man of the crew," and "old school" were not direct evidence because

they require an inference to find them discriminatory. No. 05-CV -1720-HU, 2007 WL 963446, at

*12 (D. Or. March 23, 2007) ajJ'd, 306 Fed.Appx. 403, 405 (9th Cir. 2009). There, the court
reasoned, "the comments could be references to an employee's cln'onological age, they could also


Page 21 - OPINION AND ORDER                                                                      {RlVfD}
        Case 2:10-cv-01337-AC           Document 60      Filed 05/08/12     Page 22 of 41




refer to employees with longer tenure or to those who cling to outdated ideas." fd at *12.

        Rogers argues that two comments made by Jordan constitute "direct evidence" of age

discrimination. First, Plaintiff claims Jordan told a co-worker, "Rod is old school," and "would

never have the ability to go where [OTEC] is looking to go technology wise." Second, Rogers

claims Jordan wrote on Rogers's performance review, "Rod needs to step up to changing times."

        Jordan's remarks are not direct evidence of age discrimination. To say that someone is "old

school" is not the type of clearly discriminatory language normally classified as direct evidence.

Like the remarks in Culver, Jordan's comments are susceptible to multiple interpretations, and to

view Jordan's comments as evidence of age discrimination, one must make an inference or

presumption regarding the meaning behind the words. A more direct interpretation of Jordan's

remarks is that he believes Rogers "c1ing[s] to outdated ideas," and is not technologically savvy.

Accordingly, the court considers Jordan's comments only as indirect evidence under the burden-

shifting analysis.

                2. Indirect Evidence.

        When a plaintiff seeks to prove age discrimination through indirect evidence, cOUlis apply

the burden shifting framework articulated in }vicDonnell Douglas, 411 U.S. at 802. Under this test,

the plaintiff first creates a presumption of discrimination by establishing a prima facie case. fd

Once a prima facie case is established, the burden shifts to the defendant to produce legitimate non-

discriminatory reasons for the adverse employment action. fd. at 803. The burden then shifts back

to the plaintiff to show that the defendant's proffered legitimate reasons are pretext for

discriminatory motive. fd

       a. Prima facie case


Page 22 - OPINION AND ORDER                                                                 {RMD}
        Case 2:10-cv-01337-AC          Document 60       Filed 05/08/12      Page 23 of 41




        To establish a presumption of discrimination, a plaintiff must show the following: (1) he is

over the age of 40; (2) his job perfOlmance was satisfactory; (3) he was the victim of an adverse

employment action; and (4) he was replaced by someone significantly younger who holds equal or

inferior qualifications. Nidds v. Schindler Elevator Corp., 113 F.3d 912, 917 (9th Cir. 1997). The

plaintiff need not produce much evidence to calTY his burden at this step. Wallis v. J.R. Simplot Co.,

26 F.3d 885, 889 (9th Cir. 1994). The amount of proof necessary to establish a prima facie ADEA

case on summalY judgment "is minimal and does not even need to rise to the level of a

preponderance of the evidence." ld.

        OTEC does not dispute the first and third elements - that Rogers is over f01iy and was the

victim of an adverse employment action. It does, however, argue that Rogers's job perfOlmance was

unsatisfactOlY and that Rogers was not replaced by someone significantly younger than him.

       If the plaintiff puts forth evidence of satisfactOlY work performance, the court must assume

that performance was satisfactory for summalY judgment purposes. Aragon v. Republic Silver State

Disposal Inc., 292 F.3d 654, 659-60 (9th Cir. 2002).         Positive subjective evaluations of the

plaintiffs work perfOlmance by the plaintiff and the plaintiffs subordinates are not sufficient to

establish a genuine issue of material fact, but at the prima facie stage, where the evidentiary burden

is low, the court may take the plaintiffs subjective evaluation into account. ld. at 660.

       Here, Rogers introduces sufficient evidence to carry his burden. First, Rogers offers three

different work evaluations completed in 2009 by him and subordinates Tim Banister and Tony

Hellbusch. In those evaluations, Rogers was rated as-"Meet[ing] expectations" or "exhibit[ing]

leadership" in all aspects of his work. Rogers Dec!. Ex 2. Second, Rogers was presented with the

Employee of the Year award in 2005. Third, OTEC gave Rogers a raise and a lump-sum payment


Page 23 - OPINION AND ORDER                                                                  {RMD}
        Case 2:10-cv-01337-AC          Document 60        Filed 05/08/12     Page 24 of 41




in 2007 after he was rehired by the Board. Finally, in 2008, Putman offered Rogers the John Day

Superintendent position in addition to his responsibilities as Baker Superintendent because of

Rogers's "knowledge and experience of how OTEC operated." Rogers Dec!. ~ 4.

        OTEC, conversely, argues that Rogers's job performance was unsatisfactory. In its briefs,

OTEC paints a picture of a worker who has been disciplined constantly since his hiring. Beyond the

criticisms piled upon Rogers by Jordan and Buehler, OTEC notes that Rogers's first supervisors,

Kissell and Stewart, placed Rogers on a perfoDllance improvement plan, criticized his job

perfonnance, reprimanded him repeatedly, and suspended him from work for two days before

ultimately firing him from OTEC in September 2007.

        Given the low evidentiary threshold imposed on the first step of the test and the court's duty

to view the evidence in the light most favorable to the nonmoving party, the court finds that Rogers

adequately demonstrated that his job perfonnance was adequate.

        OTEC argues that Rogers cannot satisfY his burden on the final element because the worker

who replaced Rogers in the Superintendent position was only two years younger than Rogers. The

couli agrees that, facially, Rogers cannot satisfY his burden on this element of the prima facie test.

        The fourth element of the prima facie case, however, is flexible. "[F]ailure to prove

replacement by a younger employee is 'not necessarily fatal' to an age discrimination claim where

the discharge results from a general reduction in the work force due to business conditions." Nidds,

113 F.3d at 917, quoting Rose v. Wells Fargo & Co., 902 F.2d 1417, 1421 (9th Cir. 1990).

Alternatively, "courts require instead that the plaintiff show thorough circumstantial, statistical, or

direct evidence that the discharge occulTed under circumstances giving rise to an inference of age

discrimination." Id. OTEC alleges that, due to a downturn in revenue, it demoted Rogers and


Page 24 - OPINION AND ORDER                                                                   {RlVlD}
        Case 2:10-cv-01337-AC          Document 60       Filed 05/08/12      Page 25 of 41




consolidated the Baker District line superintendent position into the La Grande District line

superintendent position as a cost-cutting measure. Therefore, Rogers can still show a prima facie

case ifhe can introduce evidence that gives rise to an inference of discriminatOlY motive.

        Rogers introduces three arguments he claims raise an inference of discriminatOlY motive.

First, Rogers argues that OTEC and its agents repeatedly tried to convince him to retire. After

Buehler and Ray leamed of Rogers' s desire to work until he was 65, Ray told the benefits specialist

(0 encourage Rogers and another employee to retire.      In one email, Ray writes, "Wemer is now

interested in a SERP or a retirement package to offer to [redacted] and Rod Rogers. Rod is 62 and

[redacted] is 65." (PI.'s Exhib. MM.) Rogers also alleges that while speaking with Baum at a

graduation ceremony, he told Baum that he wanted to work until he was 65. Baum allegedly

responded, "you don't know what your health's going to be like. You should retire as soon as you

can." PI. Depo 63 :2-4.

        OTEC argues this is not evidence of age discrimination. Instead, they argue, Buehler and

Ray suggested that the benefits specialist encourage Rogers to retire because Buehler was dissatisfied

with the quality of Rogers's work and wanted to amicably remove him from OTEC. Further,OTEC

argues that Baum's comments were stray remarks and should be stricken from the record as

irrelevant.

        "Stray remarks" are comments that are made in an ambivalent manner that have no

connection with the allegedly discriminatory employment action. Nesbit v. Pepsico, Inc., 994 F.2d

703, 705 (9th Cir. 1993). In Nesbit, plaintiffs alleged age discrimination based in part because one

oftheir superiors remarked, "[ w]e don't necessarily like grey hair." Id. The Ninth Circuit held that

it was an ambivalent stray remark and was, at best, weak circumstantial evidence of age


Page 25 - OPINION AND ORDER                                                                  {RMD}
       Case 2:10-cv-01337-AC          Document 60       Filed 05/08/12      Page 26 of 41




discrimination. Id.

       Here, Baum's remarks at the graduation cel'emony do not even rise to the level of the remark

in Nesbit. First, Baum's comments were made in a cordial manner in a social setting: The two were

at a graduation ceremony, and Rogers described their relationship as being friendly. Rogers Dep.

56:20-23,57: 9-11. Further, Baum had no involvement with the decision to demote Rogers and cut

his pay. Thus, Baum' s comments were ambivalent stray remarks that had no connection to the

adverse employment action and are inelevant to our inquily.

       Third, Rogers argues that the discipline he received was unwarranted. The verbal and written

wamings, he argues, were predicated on actions that were not his responsibility. Even if the court

were to assume that the discipline was baseless, the wisdom of disciplinary actions is not for the

court to judge. As the Ninth Circuit held:

               In judging whether [the defendant's] proffered justifications were "false," it
       is not important whether they were objectively false ... Rather, eourts "only require
       that an employer honestly believed its reason for its actions, even if its reason is
       'foolish or trivial or even baseless.'

Villiarimo v. Aloha Island Air, Inc., 281 FJd 1054, 1063 (9th Cir. 2002). Rogers has not introduced

any evidence indicating that Jordan and Buehler were disciplining Rogers in bad faith.

       Finally, Rogers alleges that in 2008, OTEC demoted Bill Neilson, a 54-year-old OTEC

employee, from Superintendent to RCTwithout cutting his pay. In fact, OTEC transferred nineteen

employees between June 2009 and March 2010. Seventeen of the nineteen were over fort)' years

old and twelve were over fifty years old. Rogers was the only employee to receive a pay cut. This,

OTEC argues, shows that they do not engage in age discrimination, but the reasons for the pay cut




Page 26 - OPINION AND ORDER                                                                 {RlYlD}
       Case 2:10-cv-01337-AC           Document 60        Filed 05/08/12      Page 27 of 41




were specific to Rogers:

        As for Rogers's comparator evidence, it is true that Neilson is in the same protected class as

Rogers (individuals over 40 years of age), but that does not strip this evidence of probative weight.

"In an age discrimination case, comparison with younger employees within the protected class is not

improper as a matter oflaw." Earl v. Nielsen j'vfedia Research, Inc., 658 F.3d 1108, 1116 (9th Cir.

2011). Unlike race, religion, or sex discrimination, where specific traits separate protected classes,

age is a continuum, and each individual's standing within that class is relative. Id. Neilson is only

eight years younger than Rogers, but still well within the class of protected individuals. Nonetheless,

that OTEC cut Rogers's pay while not cutting the pay of an individual nearly a decade his junior

could raise an inference of age discrimination for the purposes of the f0U11h prima facie element.

       Viewing all the evidence in the light most favorable to the plaintiff, Rogers has met his initial

prima facie burden.

                       b. Legitimate reasons

       Because Rogers established a prima facie case of age discrimination, the burden of

production shifts to OTEC to demonstrate non-discriminatory reasons for its actions. Reeves v.

Sanderson Plumbing Prods., Inc., 530 U.S. 133, 142 (2000). When a defendant shows legitimate

reasons for the employment decision, the presumption of discrimination created by the prima facie

case "simply drops out ofthe picture." St. }.dary's Honor Ctr. v. Hicks, 509 U.S. 502, 510 (1993).

       OTEC advances three legitimate nondiscriminatory reasons for the adverse employment




       4Rogers also argues that discriminatory animus is evidenced by the fact that, on several
occasions, OTEC offered Rogers a "buyout" or retirement package and never followed through
to complete the deal. Beyond the fact of the buyout offer, it is not clear why Rogers construes
the buyout negotiations as evidence of age discrimination.

Page 27 - OPINION AND ORDER                                                                    {RlY1D}
       Case 2:10-cv-01337-AC           Document 60        Filed 05/08/12     Page 28 of 41




actions.   First, OTEC alleges that it disciplined Rogers because his job performance was

unsatisfactOlY. Jordan issued Rogers three disciplinmy warnings because Jordan believed Rogers

produced unsatisfactory work and acted in an insubordinate mamler. Second, OTEC claims that

Buehler needed to cut OTEC's costs and removed Rogers from his position because Buehler

believed Rogers was interested in the RCT position, and "Buehler was hying to find a situation

where [Rogers] could be successful." Buehler Decl. ~ 4. Finally, OTEC claims it cut Rogers's pay

because OTEC was hying to cut costs and, since Rogers no longer supervised employees, was no

longer entitled to receive such a high salmy.

                       c. Pretext

       The burden of production now shifts back to Rogers to demonstrate that OTEC's

nondiscriminatory justifications are pretext for discriminatOlY motives. A plaintiff can demonstrate

pretext "(1) indirectly, by showing that the employer's proffered explanation is 'unworthy of

credence' because it is intemally inconsistent or otherwise not believable, or (2) directly, by showing

that unlawful discrimination more likely motivated the employer." Chuang v. Univ. o/Calif Davis

Ed. O/Trustees, 225 F.3d 1115, 1127 (9th Cir. 2000). When the plaintiff relies on indirect evidence,

he must produce "specific, substantial evidence of pretext." Wallis, 26 F.3d at 890, quoting Steckl

v. 11Jotorola, lnc., 703 F.2d 392, 393 (9th Cir. 1983). When the plaintiff introduces evidence that

consists of more than the lvfcDonnell Douglas prima facie presumption, they have necessarily

demonstrated a genuine issue of material fact, and summmy judgment is not appropriate. lvfcGinest

v. GTE Servo Corp., 360 F.3d 1103, 1124 (9th Cir. 2004).

       First, Rogers argues that OTEC' s challgingrationales for his demotion demonstrate sufficient

evidence to survive summmy judgment. Rogers claims that first OTEC represented the demotion


Page 28 - OPINION AND ORDER                                                                   {RMD}
        Case 2:10-cv-01337-AC          Document 60       Filed 05/08/12      Page 29 of 41




as disciplinaty, but later claimed Rogers requested the new assignment, and even later, labeled the

demotion as a cost -cutting measure.

        "[F]undamentally different justifications for an employer's action ... give rise to a genuine

issue of fact with respect to pretext since they suggest the possibility that neither of the official

reasons was the true reason." Aragon, 292 F.3d at 661, quoting Washington v. Garrett, 10 F.3d

1421, 1434 (9th Cir.1994). In Aragon, an employee was laid off because ofa seasonal downturn in

business and also because of his pOOl' job performance. ld. The Ninth Circuit held that these two

rationales were not inconsistent or fundamentally different. ld. Fmiher, it is reasonable that when

a company needs to eliminate positions for economic reasons, they would take into account job

performance when selecting the employee to demote or eliminate. ld.

        Here, OTEC' s stated justifications for the adverse employment action are not inconsistent.

Like the employer in Aragon, OTEC was eliminating jobs in order to cut costs due to decreased

revenue. Also like the employer inAragon, OTEC tookjob performance into account when deciding

what positions would be eliminated. Due to Rogers's disciplinary record, Jordan and Buehler likely

thought it reasonable to demote Rogers as opposed to another superintendent with a superior work

record. Accordingly, OTEC's stated reasons are not inconsistent and Rogers's at'gl;ment does not

demonstrate pretext.

        Second, Rogers alleges that OTEC's claim that they were required to eliminate Rogers's

position due to revenue decline is pretextual because OTEC spent significant sums of money

following Rogers's removal on building projects. OTEC counters with two arguments. First, OTEC

claims that the projects specified by Rogers were "capital projects" that were paid for in a different

manner than employee wages. Next, OTEC explains that these projects were inevitable cost-saving


Page 29 - OPINION AND ORDER                                                                  {RMD}
       Case 2:10-cv-01337-AC          Document 60        Filed 05/08/12     Page 30 of 41




projects and were performed during the economic downtum to take advantage oflow-interest-rate

loans and low construction costs. OTEC's expenditures following Rogers's demotion do not

demonstrate a genuine issue of material fact on the issue of pretext.

       Third, Rogers argues that OTEC's rationale that Rogers had expressed interest in the RCT

is pretext. In support, Rogers points to Peterson's declaration where he says, "it was obvious at that

point that they were going to remove Rodney from his superintendent position," and he "thought it

would be better than Rodney losing his job." Peterson Dec!. ~ 4. Further, Rogers claims that when

he expressed his interest in the RCT position to Peterson, he was joking. This evidence, however,

is inelevant.   Only the subjective motive. of the supervisor is relevant to whether OTEC's

justifications are pretextual to a discriminatory motive. Rogers has not put fOlih any evidence to

rebut OTEC's claim that Jordan and Buehler subjectively believed Rogers wanted the RCTposition.

       Finally, Rogers claims that OTEC's reliance on poor job performance as grounds to make

the adverse employment decision is pretext because: (1) his instances of discipline in 2007 are

irrelevant to the demotion; (2) Butner and Putman's criticisms, on which OTEC relies, are

conclusory statements that are not supported by the facts; (3) Buehler had no personal knowledge

of Rogers's performance, so his statement that "Rogers was the poorest perfOlmer among OTEC's

three Line Superintendents" is baseless; and (4) Rogers's actions after his demotion are irrelevant

to the adverse employment action. However, even if the cOUli assumes the truth of his assertions,

Rogers fails to demonstrate the existence of a genuine issue of material fact. The wisdom of

disciplinary action taken by an employer is not for the court to judge, and Rogers introduced no

evidence to rebut OTEC's assertion that Buehler and Jordan subjectively believed Jordan deserved

to be disciplined and demoted.


Page 30 - OPINION AND ORDER                                                                  {RMD}
        Case 2:10-cv-01337-AC         Document 60       Filed 05/08/12     Page 31 of 41



        Because there is no genuine issue of material fact and OTEC is entitled to judgment as a

matter of law, OTEC's motion for summary judgment on Rogers's age discrimination claims is

granted.

        B. Discrimination Based on Medical Leave.

        Rogers also brings suit alleging OTEC interfered with his rights under the Family and

Medical Leave Actof1993, 29 U.S.C. §§ 2601-2654 ("FMLA"), and the Oregon Family Leave Act,

OR. REv. STAT. §§ 659A.150-659A.186 ("OFLA"). OTEC argues it is entitled to summary

judgment on both the FMLA and OFLA claims.

               1. Procedural Objections

        Before reaching the merits of Rogers's claim, OTEC brings several procedural arguments

in favor of summary jUdgment. First, OTEC argues that Rogers has, in essence, moved for leave to

amend his complaint - the granting of which would be improper. Next, OTEC contends that

summary judgment should be granted in its favor on Rogers's OFLA claim because the facts of his

case do not lend themselves to interference claims as defined in OFLA. Finally, OTEC argues it is

entitled to summary judgment on the OFLA claim because Rogers's claim violates the statute of

limitations.

                      a. FMLA - motion for leave to amend

       First, OTEC argues Rogers, in recasting his claim as an "interference claim," is attempting

to add a "new" claim to his complaint - something the court should disallow.

       The FMLA confers two separate rights to covered individuals. First, it guarantees covered

employees the right to take leave when suffering from a serious medical problem, to care for an ill

family member, or to care for a newbom child, among otherreasons. 29 U.S.C. § 2612(a)(1). It also


Page 31 - OPINION AND ORDER                                                               {RtVlD}
        Case 2:10-cv-01337-AC         Document 60        Filed 05/08/12     Page 32 of 41



grants employees the right to retum to their previous position after taking protected leave without

detrimental consequences. 29 U.S.C. § 2612(a)(2).

       Two causes of action can arise if an employer violates rights provided by the FMLA. An

"interference" claim arises when an employer interferes with, restrains, or denies an employee the

exercise of his 01' her rights under the act. 29 U.S.C. § 2615(l)(a). This cause of action includes

situations where an employer takes an adverse employment action against an employee for

requesting 01' actually taking protected leave. s A retaliation claim, on the other hand, arises only

when an employer discharges 01' otherwise retaliates against an employee who opposes an employer

practice made unlawful by the FMLA. 29 U.S.C.A. § 2615(1)(b).

       The distinction between interference and retaliation claims is important because the court

applies a different standard to each. In the Ninth Circuit, a plaintiff may sustain an interference

claim if the employer used the plaintiffs protected leave as a "negative factor" in an adverse

employment decision. Bachelder v. Am. W. Airlines, Inc., 259 F.3d 1112,1125 (9th Cir. 2001); 29

C.F.R. § 825.220(c). The Ninth Circuit has reserved judgment on what test district courts should

apply to retaliation/discrimination claims. Xin Lill v. Amway Corp., 347 F.3d 1125, 1136 n.l 0 (9th

Cir. 2003). The recent practice in the District of Oregon, however, is to apply the jllcDonnell

Douglas burden-shifting framework to retaliation/discrimination claims. Price v.lvlultnomah Cnty.,

132 F.Supp.2d 1290, 1296 (D. Or. 2001).

       In Rogers's complaint, he pleads a retaliation cause of action. In Rogers's memorandum in




         5Although traditional notions of employment retaliation include situations where an
employer takes an adverse employment action in response to an employee asserting some legally
protected right, under the FMLA a scenario like this constitutes interference instead of a
retaliation.

Page 32 - OPINION AND ORDER                                                                 {RJV1D}
        Case 2:10-cv-01337-AC          Document 60       Filed 05/08/12      Page 33 of 41



opposition, however, Rogers argues that his claim is for interference. OTEC contends that since

Rogers labeled his FMLAJOFLA claim as one for retaliation in his complaint, Rogers is trying to

avoid summary judgment by amending his complaint to add a claim for interference. OTEC argues

that this "motion" should be denied because it would be prejudiced in two ways if the court allowed

Rogers to proceed under this "new" claim. First, OTEC argues it has not had an opportunity to

perform discovery on the interference claim. Second, OTEC argues that it was precluded in its

opening memo from arguing that Rogers did not incur a cognizable injmy.

        Leave to amend is liberally granted under FED. R. CIV. PRO. 15, but a court may deny leave

to amend because of "undue delay, bad faith in seeking amendment, or undue prejudice to the party

opposing amendment." Acri v. In! '/ Ass In ofiV!achinists & Aerospace Workers, 781 F .2d 1393, 13 98

(9th Cir. 1986). In Acri, the Ninth Circuit upheld the district court's denial ofleave to amend. Id.

The court reasoned that the movant sought amendment solely in order to avoid summary judgment,

and to allow amendment and additional discovelY when discovery was nearly complete would cause

delay and prejudice to the defendant. Id. Thus, if Rogers's rebranding of his claim is properly

viewed as a motion for leave to amend, it is within the comi's discretion to deny that motion.

        Comis, however, are not bound to strictly construe a claim for relief according to a few key

words. In Shepard v. City of Port/and, for instance, the plaintiff did not precisely identify the

provision of the FMLA under which he sought relief. No. 09-0021-AA, 2011 WL 5282607, at *7

(D. Or. Oct. 31, 2011). The plaintiff alleged the defendant "willfi.llly discriminated against [him],

interfered with [his] efforts to take leave, deterred [him] from exercising his rights, and retaliated

against [him], in retaliation for asserting his right under the FMLA." Id. The court nonetheless

construed plaintiff s claim as one for interference instead of retaliation based on the facts pleaded


Page 33 - OPINION AND ORDER                                                                  {RMD}
        Case 2:10-cv-01337-AC           Document 60        Filed 05/08/12     Page 34 of 41



in the complaint. ld The Ninth Circuit came to a similar result in Bachelder, in part because the

regulation enforcing the FMLA uses the terms interference, retaliation, and discrimination

interchangeably in reference to interference claims. 259 F.3d at 1124; 29 C.F.R. § 825.220(c).

        Here, Rogers is not moving for leave to amend, but simply clarifying the legal theOlY under

which he wishes to proceed. In his complaint, Rogers properly pled a claim for interference. He

alleged that: (1) he took protected leave; (2) OTEC "discriminated against plaintiff because of

plaintiffs protected leave ... "; and (3) he suffered hanl1 as a result ofOTEC's actions. Compl. '111

32-34. Despite the factthat Rogers labeled this claim as one for "retaliation," it was sufficiently pled

to put OTEC on notice that it would be defending against an interference claim.

       In fact, OTEC appears not to have noticed Rogers's labeling mistake when it filed its motion

for summary judgment. All of the arguments that OTEC introduced in its memorandum in support

center around whether OTEC retaliated against Rogers for taking medical leave-not whether facts

existed whereby Rogers could pursue a true retaliation/discrimination claim. IfOTEC had actually

construed Rogers's claim as one for retaliation or discrimination, OTEC's arguments would focus

on the fact that Rogers never challenged OTEC's medical leave policies and thus could not possibly

state a successful claim for discrimination or retaliation. OTEC clearly understood the nature of

Rogers's claim and was not prejudiced by the introduction of a new label for that claim. Fmiher, due

to the confusing way that the implementing regulations use terms "interference," "retaliation," and

"discrimination," the court should give some leeway to litigants guided by its text. 29 C.F.R. §

825.220.

       The court concludes that Rogers is not attempting to state a new claim for interference, but

clarifying under which theOlY he sought to proceed.


Page 34 - OPINION AND ORDER                                                                    {RJv1D}
        Case 2:10-cv-01337-AC           Document 60         Filed 05/08/12    Page 35 of 41



                        b. OFLA

        OTEC argues that Rogers is baned from asserting an interference claim under the OFLA for

two reasons. First, OTEC argues that OFLA's interference provision is so narrow in scope as to

preclude Rogers from proceeding given the facts at hand. Second, OTEC argues that the OFLA

interference claim is barred by a statute of limitations.

        Provisions of the OFLA "shall be construed to the extent possible in a manner that is

consistent with any similar provisions of the [FMLA]." OR. REV. STAT. § 659A.186(2). Thus, if

a provision of the OFLA is "similar" to the FMLA section that provides a cause of action for

interference, the court must interpret them consistently and find that the OFLA provides for FMLA-

style interference claims.

        The interference provision of the OFLA, makes it unlawful for an employer to "[d]eny family

leave to which an eligible employee is entitled under [OFLA]." OR. REv. STAT. § 659A.183(l). In

Fillman v. OjJicelviax, Inc., a case in this district, the court read this provision nanowly as to bar a

plaintifffi'om bringing an interference claim, stating, "[u]nlike FMLA, OFLA does not provide a

cause of action for 'interference' with an ... employee's ability to request OFLA leave or for

retaliation against an employee for having made an OFLA request." No. 05-6346-TC, 2007 WL

2177930, at *8 (D. Or. July 27,2007).

       Fillman, however, is not mandatory authority, and the Fillman cOUli overlooked OR. REv.

STAT. § 659A.183(2), which makes it unlawful for an employer to "[r]etaliate or in any way

discriminate against an individual ... because the individual ... submitted a request for family leave

or invoked any provision of [OFLA]." Despite using the telms "retaliate" and "discriminate" instead

of "interfere" this provision is similar to the interference provision in the FMLA. Since provisions


Page 35 - OPINION AND ORDER                                                                    {RJY1D}
         Case 2:10-cv-01337-AC          Document 60        Filed 05/08/12     Page 36 of 41



of the OFLA must be construed consistently with provisions of the FMLA, the court holds that

Rogers may pursue his OFLA claim. 6

         Second, OTEC argues that Rogers's OFLA claim is barred by a one-year statute of

limitations. OTEC claims that even though Rogers filed a BOLl complaint on February 19, 2010,

his claim is still balTed because he alleged a retaliation claim, not an interference claim, in his BOLl

complaint.

         An employee suing an employer for employment discrimination must commence suit within

one year of the unlawful employment action. OR. REv. STAT. § 659A.875(1). If an employee files

a complaint with BOLl for employment discrimination, he or she must file a civil complaint within

90 days of receipt ofa right to sue letter or the claim is waived. OR. REv. STAT. § 659A.875(2).

         Rogers alleges in his complaint that he received a notice of right to sue from BOLl on August

1,2010 and filed his civil complaint in this case on October 26, 2010. Only 86 days elapsed between

receipt of the notice of right to sue and filing of the civil complaint. Rogers, therefore, timely filed

his complaint according to OR. REv. STAT. § 659A.875.

         Because OFLA recognizes Rogers claim as a cognizable one, and his claim is not in violation

of the statute oflimitations, the court now turns to the substantive merits of Rogers's interference

claim.

                2. Substantive Merits

         To prove a case of interference Rogers must show by a preponderance of the evidence that

"1) he took protected leave; 2) he was subjected to an adverse employment action; and 3) taking the




        6Technically, the OFLA claim in one for "retaliation," but for efficiency purposes it will
be referred to as an interference claim in the substantive analysis below.

Page 36 - OPINION AND ORDER                                                                    {RlV1D}
        Case 2:10-cv-01337-AC           Document 60        Filed 05/08/12      Page 37 of 41



leave was a 'negative factor' in the adverse employment action." Shepard, 2011 WL 5282607, at

*14, citing Bacheldel~ 259 F.3d at 1125.

        OTEC does not dispute the first two elements, but argues that Rogers's protected leave

played no part in the adverse employment actions. In support, OTEC first offers comparator

evidence. Most notably, OTEC claims that 28 other employees took medical leaves of absence and

none were fired or demoted as a result.         In fact, Claude Morgan, who replaced Rogers as

Superintendent took two leaves of absence between 2007 and 2009 but was nonetheless promoted

upon his return from leave. Second, OTEC argues that prior to his leave of absence, Rogers wrote

a note indicating his beliefthat Buehler wanted to fire him. If Buehler wanted to fire Rogers prior

to his leave, OTEC argues, the leave could not have been the motivation for any subsequent adverse

employment decisions.

        Rogers contends that summary judgment is inappropriate because the evidence raises a

genuine issue of material fact regarding whether his protected leave was a "negative factor" in the

adverse employment action. Roger's primary argument to support this proposition is that the adverse

employment action was taken in such close temporal proximity to his protected leave that it

necessarily raises an inference of causation.

        In some cases, an inference of causation may be inferred solely by the temporal proximity

between relevant actions. Villiarimo, 281 F.3d at 1065. "But timing alone will not show causation

in all cases; rather, 'in order to support an inference of retaliatory motive, the termination must have

occu11'ed fairly soon after the employee's protected expression.'" ld., quoting Paluck v. Gooding

Rubber Co., 221 F.3d 1003, 1009-10 (7th Cir. 2000). In YartzojJv. Thomas, the Ninth Circuit

inferred causation through temporal proximity when an employer began to transfer job duties and


Page 37 - OPINION AND ORDER                                                                    {fuVID}
        Case 2:10-cv-01337-AC         Document 60       Filed 05/08/12     Page 38 of 41



give bad perfonnance reviews three months after the plaintiff engaged in a protected activity. 809

F.2d 1371, 1376 (9th Cir. 1987).

       Here, temporal proximity exists between Rogers's medical leave of absence and the adverse

employment actions. Rogers returned from medical leave on June 1, 2009. Three weeks later,

Jordan criticized Rogers for "dropping the ball" on the Birch Street job. Within two-and-a-half

months of Rogers 's return from leave, OTEC disciplined Rogers twice more and removed him from

the Superintendent position.

       Nonetheless, Rogers does not cany his evidentiary burden. The evidence of temporal

proximity is not sufficient to rebut OTEC's comparator evidence, especially considering the faetthat

Rogers was replaced as Superintendent by an individual who had also recently taken a protected

leave of absence. Accordingly, the court grants summary judgment in favor of OTEC on Rogers's

FMLA and OFLA claims.

       C. Disability Discrimination

       Finally, OTEC argues that it is entitled to summmy judgment on Rogers's claims for

disability discrimination under the ADA and the Oregon state disability discrimination law. 42

U.S.C. §§ 12101-12300; OR. REv. STAT. §§ 659A.I03-659A.145. Rogers argues that there are

genuine issues of material fact regarding whether a causal connection exists between his disability

and the adverse· employment action and whether OTEC's proffered justifications for the adverse

employment action arepretextual.

       When analyzing discrimination claims under the ADA and Oregon state law, the Ninth

Circuit applies the lvfcDonnell Douglas burden-shifting framework. Snead v. lvfetro. Prop. & Cas.

Ins. Co., 237 F.3d 1080, 1093 (9th Cir. 2001).


Page 38 - OPINION AND ORDER                                                                {RMD}
        Case 2:10-cv-01337-AC          Document 60        Filed 05/08/12      Page 39 of 41



                I. Prima facie case

        To prove a prima facie case of discrimination under the ADA and Oregon state law, a

plaintiff must show that: (I) he is a qualified individual with a disability; (2) he suffered an adverse

employment action; and (3) there was a causal connection between the adverse employment action

and his disability. Hulton v. ElfAtochem N Am. Inc., 273 F.3d 884,891 (9th Cir. 2001). The proof

required at the prima facie stage for employment discrimination cases "is minimal and does not even

need to rise to the level of a preponderance of evidence." Wallis, 26 F.3d at 889; See also, Kinney

v. Emmis Operation Co., 291 Fed.Appx. 789, 790 (9th Cir. 2007) (applying the standard to a case

brought under the ADA).

        OTEC does not contest the first two elements of Rogers's prima facie case, but asserts that

no evidence exists showing a causal connection between the adverse employment action and

Rogers's disability.

       A causal connection exists between an adverse employment action and a disability when an

action is taken "on the basis of' an individual's disability. 42 U.S.C. § 12112; OR. REv. STAT. §

659A.112. The Ninth Circuit has interpreted "on the basis of' to mean "motivated, even in part, by

animus based on a plaintiffs disability ... " Headv. Glacier Nw.Inc., 413 FJd 1053, 1065 (9th Cir.

2005). Therefore, a plaintiff may succeed in a disability discrimination claim, even if some of the

employer's motivations were legitimate, so long as the employer considered the employee's

disability in making an adverse decision. Id. at 1066.

       Rogers introduces three pieces of evidence he claims indicate that his disability motivated

the adverse employment action. First, he argues that after giving OTEC notice of his upcoming hip

surgery, Putman questioned Rogers about his health and offered him a buyout. That Putman asked


Page 39 - OPINION AND ORDER                                                                    {RMD}
        Case 2:10-cv-01337-AC          Document 60      Filed 05/08/12     Page 40 of 41



Rogers about his health is inelevant to whether Buehler and Jordan were motivated by Rogers's

disability because Putman left OTEC long before the adverse employment decision was made.

        Second, Rogers argues that Jordan questioned Rogers about his health on three separate

occasions in the summer of2009. On one occasion, in response to Rogers's answer, Jordan asked,

"are you sureT Rogers Dep. at 94: 1-96:24. OTEC argues that these questions are evidence merely

of a supervisor showing concern for his subordinate's well-being. Further, OTEC points out that

portions of the ADA require employers to be proactive about providing accommodations to their

employees. Through these questions, OTEC argues, Jordan was assessing whether accommodations

would be necessary.

       Finally, Rogers contends Jordan, while urging him to accept a severance offer, commented

that Rogers might be "more crippled" by the time he was ready to retire at age 65. Deppo 173:16-17.

OTEC claims that Jordan never made the comment, but even ifhe did, it was only an inquhy about

whether Rogers believed he could continue working instead of evidence of a discriminatory motive.

This is by far the most persuasive evidence indicating a possible discriminatOlY motive and verges

on direct evidence of such a motive.

       In light of the above evidence, Rogers satisfies the evidentimy burden to show the existence

of a prima facie case of disability discrimination.

               2. Legitimate nondiscriminatOlY reasons

       OTEC sets forth the same three legitimate nondiscriminatOlY reasons for the adverse

employment action as it did for Rogers's age discrimination claim: (1) unsatisfactory job

performance; (2) a need to cut costs due to reduced revenues; and (3) its perception that Rogers

desired to be transferred to the RTC position.


Page 40 - OPINION AND ORDER                                                               {RJVlD}
        Case 2:10-cv-01337-AC           Document 60            Filed 05/08/12   Page 41 of 41



                3. Pretext

        To demonstrate that OTEC's proffered justifications for its actions are pretextual, Rogers

relies on the same four arguments as he does for his age discrimination claim. As explained, those

reasons are largely unpersuasive. However, unlike in the age discrimination claim, there exists

evidence that gives rise to genuine issues of material fact for this claim.

        By far the most compelling evidence is Jordan's "crippled comment," which by itself creates

a genuine issue of material fact. First of all, there is a genuine factual dispute regarding whether this

comment was actually made. Further, the "crippled comment" is persuasive evidence that raises a

genuine issue of material fact as to whether OTEC was motivated wholly or in pmi by Rogers's

disability, as well as whether OTEC' s stated nondiscriminatOlY justifications are pretext.

        When coupled with OTEC supervisors' repeated inquiries into Rogers's health and Buehler

and Jordan's "take it 01' leave it" offer of a physically demanding position to Rogers despite his

health problems, the evidence could lead a reasonable factfinder to conclude that OTEC engaged in

discrimination based on Rogers's disability.

        Because genuine issues of material fact exist in Rogers's disability discrimination claim,

OTEC's motion for summmy judgment is denied.

                                              Conclusion

       Based on the foregoing reasons, OTEC's motion for Summmy Judgment is GRANTED as

to Rogers's age discrimination and medical leave claims, and DENIED as to Rogers's disability

discrimina~~i~ims. Further, Rogers's motion to stri(k~is        !IRA T~)n pili't ndDENIED in part.
Dated this ) Day of May, 2012                              ,    ",'. _   \~          _ .. ~.

                                                             JO     V.ACOSTA
                                                        United States Magistrate Judge
                                                                \,

Page 41 - OPINION AND ORDER                                                                     {fuY1D}
